Case 0:18-cv-61473-UU Document 34 Entered on FLSD Docket 03/13/2019 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 0:18-cv-61473-UU
 CAESAR BACARELLA,

         Plaintiff,
 v.

 AIG PROPERTY INSURANCE CO.,

       Defendants.
 ________________________________/
                                                ORDER

         THIS CAUSE comes before the Court sua sponte. The             Court    has    considered    the

 pertinent portions of the record and is otherwise fully advised in the premises. On February 8,

 2019, upon the Parties’ notice of settlement, the Court entered its Notice of Court Practice Upon

 Settlement, which directed the parties to file their settlement papers no later than February 28,

 2019. D.E. 32. In that order, the Court stated that failure to file the papers by that date would result

 in dismissal of the case. Id. As of the date of this order, the Parties have not filed their settlement

 documents, and they have not moved for an additional extension. It is, therefore

         ORDERED AND ADJUDGED that the case is DISMISSED WITHOUT PREJUDICE

 for failure to abide by the Court’s Order, D.E. 32. The case remains closed.

         DONE AND ORDERED in Chambers at Miami, Florida, this _12th_ day of March,

 2019.


                                                        ________________________________
                                                        URSULA UNGARO
                                                        UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
